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                EXHIBIT G
                 Case 3:09-cv-05718-RS Document 288-9 Filed 05/31/22 Page 2 of 8


Jonathan Tse

From:               Tezyan, Michael <mtezyan@irell.com>
Sent:               Monday, August 16, 2021 3:10 PM
To:                 Jonathan Tse; Strabone, Andrew
Cc:                 Sheasby, Jason; Stach, Jason; #Netlist-Google [Int]; ~Hines, Dori; Puknys, Erik; Specht, Kara; Jared
                    Newton; David Perlson; QE-NetlistvGoogle
Subject:            RE: Netlist v. Google - 09-cv-5718 - Joint Letter to Magistrate re Dorsey Subpoena
Attachments:        Netlist v. Google - Joint Stipulation Re_ Rescheduling Hearing Dates.DOCX


                                       [EXTERNAL EMAIL from mtezyan@irell.com]


Counsel,

The proposed deposition dates for Mr. Sprinkle and Mr. Roy do not work for us. Please propose other dates they are
available in September.

We are fine with you sharing the August 11, 2021 discovery responses with your client.

Separately, we have a direct conflict with the current hearing dates for Google’s Motion for Summary Judgment
(October 13, 2021) and Motion to Strike (September 8, 2021). Jason will be in trial in cases in which he is lead trial
counsel on both of those dates. We request rescheduling both hearing dates to the next available hearing date on Judge
Armstrong’s calendar (November 10, 2021). Attached is a draft of the stipulation we would propose submitting to the
Court on this issue.

Thanks,
Michael


Michael Tezyan
Associate
IRELL & MANELLA LLP
1800 Avenue of the Stars, Suite 900
Los Angeles, CA 90067
Direct: (310) 203‐7536 | Email: mtezyan@irell.com



From: Jonathan Tse <jonathantse@quinnemanuel.com>
Sent: Friday, August 13, 2021 12:55 PM
To: Strabone, Andrew <AStrabone@irell.com>
Cc: Sheasby, Jason <JSheasby@irell.com>; Stach, Jason <Jason.Stach@finnegan.com>; #Netlist‐Google [Int] <Netlist‐
Google@irell.com>; ~Hines, Dori <dori.hines@finnegan.com>; Puknys, Erik <erik.puknys@finnegan.com>; Specht, Kara
<Kara.Specht@finnegan.com>; Jared Newton <jarednewton@quinnemanuel.com>; David Perlson
<davidperlson@quinnemanuel.com>; QE‐NetlistvGoogle <qe‐netlistvgoogle@quinnemanuel.com>
Subject: RE: Netlist v. Google ‐ 09‐cv‐5718 ‐ Joint Letter to Magistrate re Dorsey Subpoena

Counsel,



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                        Case 3:09-cv-05718-RS Document 288-9 Filed 05/31/22 Page 3 of 8

We have not received a response from you. If you do not confirm the deposition dates by COB today, we will release
these dates.

Best,

Jon

Jonathan Tse
Associate,
Quinn Emanuel Urquhart & Sullivan, LLP

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From: Jonathan Tse
Sent: Monday, August 9, 2021 6:00 PM
To: Strabone, Andrew <AStrabone@irell.com>
Cc: Sheasby, Jason <JSheasby@irell.com>; Stach, Jason <Jason.Stach@finnegan.com>; #Netlist‐Google [Int] <Netlist‐
Google@irell.com>; ~Hines, Dori <dori.hines@finnegan.com>; Puknys, Erik <erik.puknys@finnegan.com>; Specht, Kara
<Kara.Specht@finnegan.com>; Jared Newton <jarednewton@quinnemanuel.com>; David Perlson
<davidperlson@quinnemanuel.com>; QE‐NetlistvGoogle <qe‐netlistvgoogle@quinnemanuel.com>
Subject: RE: Netlist v. Google ‐ 09‐cv‐5718 ‐ Joint Letter to Magistrate re Dorsey Subpoena


Confidential – Attorneys’ Eyes Only

Counsel,

We have not heard back from you about whether you will proceed with Mr. Sprinkle’s deposition on August 26th. This is
the second time this has happened – we previously told you Mr. Sprinkle was available between August 2 and 5, but you
could not commit to whether you would take his deposition on one of those dates. Mr. Sprinkle and other witnesses are
busy and it is inconvenient for them to hold dates indefinitely. Please tell us by Wednesday, August 11th, whether you
will accept August 26th for Mr. Sprinkle.

Please also let us know if you intend to proceed with Mr. Roy’s deposition. We note that Mr. Roy was deposed in 2009
in Case No. 08‐04144 and asked certain questions regarding 4‐Rank DDR2 FBDIMMs. It is unclear to us what information
beyond that Netlist believes Mr. Roy is relevant to. However, if Netlist intends to use one of its ten fact depositions on
Mr. Roy, he is available on September 2, 2021. Please confirm whether you will proceed on that date by Wednesday,
August 11th.

Best,

Jon

Jonathan Tse
Associate,
Quinn Emanuel Urquhart & Sullivan, LLP

50 California Street, 22nd Floor
                                                                                  2
                       Case 3:09-cv-05718-RS Document 288-9 Filed 05/31/22 Page 4 of 8
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From: Jonathan Tse
Sent: Monday, August 2, 2021 6:07 PM
To: Strabone, Andrew <AStrabone@irell.com>
Cc: Sheasby, Jason <JSheasby@irell.com>; Stach, Jason <Jason.Stach@finnegan.com>; #Netlist‐Google [Int] <Netlist‐
Google@irell.com>; ~Hines, Dori <dori.hines@finnegan.com>; Puknys, Erik <erik.puknys@finnegan.com>; Specht, Kara
<Kara.Specht@finnegan.com>; Jared Newton <jarednewton@quinnemanuel.com>; David Perlson
<davidperlson@quinnemanuel.com>; QE‐NetlistvGoogle <qe‐netlistvgoogle@quinnemanuel.com>
Subject: RE: Netlist v. Google ‐ 09‐cv‐5718 ‐ Joint Letter to Magistrate re Dorsey Subpoena

Andrew,

Mr. Sprinkle is available to sit for a deposition on August 26 and we will follow up separately with a date of availability
for Mr. Roy to sit for a deposition.

Best,

Jon

Jonathan Tse
Associate,
Quinn Emanuel Urquhart & Sullivan, LLP

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by e-mail, and delete the original message.

From: Strabone, Andrew <AStrabone@irell.com>
Sent: Monday, August 2, 2021 10:47 AM
To: Jonathan Tse <jonathantse@quinnemanuel.com>
Cc: Sheasby, Jason <JSheasby@irell.com>; Stach, Jason <Jason.Stach@finnegan.com>; #Netlist‐Google [Int] <Netlist‐
Google@irell.com>; ~Hines, Dori <dori.hines@finnegan.com>; Puknys, Erik <erik.puknys@finnegan.com>; Specht, Kara
<Kara.Specht@finnegan.com>; Jared Newton <jarednewton@quinnemanuel.com>; David Perlson
<davidperlson@quinnemanuel.com>; QE‐NetlistvGoogle <qe‐netlistvgoogle@quinnemanuel.com>
Subject: RE: Netlist v. Google ‐ 09‐cv‐5718 ‐ Joint Letter to Magistrate re Dorsey Subpoena

                                                      [EXTERNAL EMAIL from astrabone@irell.com]


Jon,

                                                                                  3
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We’re still waiting on these deposition dates. We requested dates for Mr. Roy and updated dates for Mr. Sprinkle on
July 15. Please provide them this week.

Thanks,
Andrew

From: Strabone, Andrew <AStrabone@irell.com>
Sent: Friday, July 23, 2021 8:08 AM
To: Jonathan Tse <jonathantse@quinnemanuel.com>
Cc: Sheasby, Jason <JSheasby@irell.com>; Stach, Jason <Jason.Stach@finnegan.com>; #Netlist‐Google [Int] <Netlist‐
Google@irell.com>; ~Hines, Dori <dori.hines@finnegan.com>; Puknys, Erik <erik.puknys@finnegan.com>; Specht, Kara
<Kara.Specht@finnegan.com>; Jared Newton <jarednewton@quinnemanuel.com>; David Perlson
<davidperlson@quinnemanuel.com>; QE‐NetlistvGoogle <qe‐netlistvgoogle@quinnemanuel.com>
Subject: Re: Netlist v. Google ‐ 09‐cv‐5718 ‐ Joint Letter to Magistrate re Dorsey Subpoena

Jon,

Please provide available deposition dates for Mr. Roy and Mr. Sprinkle.

Thanks,
Andrew


          On Jul 16, 2021, at 12:32 PM, Jonathan Tse <jonathantse@quinnemanuel.com> wrote:



          Counsel,

          Thank you for the meet and confer on July 13 regarding our June 28 responses and objections to the
          Rule 30(b)(6) topics. As we had indicated in my July 6 email, for the corporate deposition, as we
          understood your position on our last call, Netlist would like to take the corporate deposition after
          receiving our opening brief on absolute intervening rights. So we asked that Netlist confirm and we
          would propose some date ranges. We also asked in that email if Netlist had any issues with our
          objections to your notice to let us know so we could discuss any issues in advance of the deposition. We
          had not previously heard back. On our call on July 13, Netlist did not want to discuss our responses
          insofar as they concern absolute intervening rights. Nor did Netlist indicate what its position was in
          connection of the timing of such a deposition. Rather, you indicated that you thought Netlist might
          want to take a deposition before our opening brief but you were not sure and would get back to us. We
          are evaluating your requests in your email yesterday for the depositions of Mr. Roy and Mr. Sprinkle in
          August and will provide their dates of availability to sit for a deposition in that time frame.

          What Netlist indicated it wanted to talk about instead on July 13 was having a Rule 30(b)(6) witness for
          all topics you had previously identified as being related to intervening rights, but on all issues‐‐‐including
          equitable intervening rights, infringement, damages, etc. As we have stated separately on other meet
          and confers and discovery responses, we served our June 28 responses and objections to the Rule
          30(b)(6) notice as limited to absolute intervening rights for the purposes of timely providing Netlist with
          a witness for the information it was seeking for its absolute intervening rights briefing. In any event, we
          asked whether Netlist wanted a document production on all the issues before the deposition and
          indicated that Google would not produce additional witnesses on the same topics later should Netlist
          take a deposition before the relevant documents are able to be produced. Netlist indicated that at least
          for some topics, it likely wanted a witness on the Rule 30(b)(6) topics now, but did not have a position
                                                                4
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for which topics during the call. Rather, you indicated that you needed our position for these topics on
all issues in the case to decide timing. Thank you for confirming in your email yesterday that you do not
intend to take a 30(b)(6) deposition before absolute rights briefing. In any event, we will revise our
responses and objections to the Rule 30(b)(6) notice to address all issues in the case and do so by the
end of next week. As we noted in our prior email, we will need to meet and confer on any issues you
may have with our revised responses and objections to your Rule 30(b)(6) notice so that we may
determine who are the appropriate witnesses for those topics.

Google committed to providing a response to Netlist’s ESI stipulation and Netlist committed to providing
a response to Google’s proposed redactions to Netlist’s June 18, 2021 Amended Infringement
Contentions.

As we expressed on the call, we hope the parties can continue to conduct meet and confers in the
future in the same manner as we attempted to do on July 13 and try to work through issues rather than
create them.

Best,

Jon



Jonathan Tse
Associate,
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415.875.6600 Main Office Number
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From: Strabone, Andrew <AStrabone@irell.com>
Sent: Thursday, July 15, 2021 8:27 AM
To: Jonathan Tse <jonathantse@quinnemanuel.com>; Sheasby, Jason <JSheasby@irell.com>
Cc: Stach, Jason <Jason.Stach@finnegan.com>; #Netlist‐Google [Int] <Netlist‐Google@irell.com>;
~Hines, Dori <dori.hines@finnegan.com>; Puknys, Erik <erik.puknys@finnegan.com>; Specht, Kara
<Kara.Specht@finnegan.com>; Jared Newton <jarednewton@quinnemanuel.com>; David Perlson
<davidperlson@quinnemanuel.com>; QE‐NetlistvGoogle <qe‐netlistvgoogle@quinnemanuel.com>
Subject: RE: Netlist v. Google ‐ 09‐cv‐5718 ‐ Joint Letter to Magistrate re Dorsey Subpoena

                                          [EXTERNAL EMAIL from astrabone@irell.com]


Jon,

Please provide deposition dates for Mr. Roy in August. Please also provide additional dates in August for
Mr. Sprinkle. We are determining if August 2‐5 will work but we may have a conflict.

We do not intend to take a 30(b)(6) deposition before July 30.

                                                                       5
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Per our call, Google will get back to us this week with a date by when it will serve amended objections
and responses to the 30(b)(6) notice topics previously identified, and will identify when 30b6 witnesses
will be available for those topics.

Thanks,
Andrew

From: Jonathan Tse <jonathantse@quinnemanuel.com>
Sent: Tuesday, July 6, 2021 2:02 PM
To: Sheasby, Jason <JSheasby@irell.com>
Cc: Strabone, Andrew <AStrabone@irell.com>; Stach, Jason <Jason.Stach@finnegan.com>; #Netlist‐
Google [Int] <Netlist‐Google@irell.com>; ~Hines, Dori <dori.hines@finnegan.com>; Puknys, Erik
<erik.puknys@finnegan.com>; Specht, Kara <Kara.Specht@finnegan.com>; Jared Newton
<jarednewton@quinnemanuel.com>; David Perlson <davidperlson@quinnemanuel.com>; QE‐
NetlistvGoogle <qe‐netlistvgoogle@quinnemanuel.com>
Subject: RE: Netlist v. Google ‐ 09‐cv‐5718 ‐ Joint Letter to Magistrate re Dorsey Subpoena


Counsel,

For the corporate deposition, as we understood your position on our last call, Netlist would like to take
the corporate deposition after receiving our opening brief on absolute intervening rights. Please
confirm and we’ll propose some date ranges. But please let us know if you have any issues with our
objections to your notice as we will need to discuss any issues in advance of the deposition.

For fact depositions, Mr. Sprinkle is available August 2‐5. Let us know if you have a preferred day. Note
that he is based in Hawaii, so we would want to start the deposition around 9 am his time / noon
PT. Regarding Mr. Roy, note that we removed him from our initial disclosures, but if you would still like
depose him, we can propose dates in August – he is on vacation during July as previously discussed. Just
let us know how you would like to proceed. We are not aware of any other individual depositions that
Netlist is currently seeking.

Best,

Jon

Jonathan Tse
Associate,
Quinn Emanuel Urquhart & Sullivan, LLP

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415.875.6600 Main Office Number
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From: Sheasby, Jason <JSheasby@irell.com>
Sent: Thursday, July 1, 2021 5:24 PM
To: Jonathan Tse <jonathantse@quinnemanuel.com>
                                                                       6
         Case 3:09-cv-05718-RS Document 288-9 Filed 05/31/22 Page 8 of 8

Cc: Strabone, Andrew <AStrabone@irell.com>; Stach, Jason <Jason.Stach@finnegan.com>; #Netlist‐
Google [Int] <Netlist‐Google@irell.com>; ~Hines, Dori <dori.hines@finnegan.com>; Puknys, Erik
<erik.puknys@finnegan.com>; Specht, Kara <Kara.Specht@finnegan.com>; Jared Newton
<jarednewton@quinnemanuel.com>; David Perlson <davidperlson@quinnemanuel.com>; QE‐
NetlistvGoogle <qe‐netlistvgoogle@quinnemanuel.com>
Subject: Re: Netlist v. Google ‐ 09‐cv‐5718 ‐ Joint Letter to Magistrate re Dorsey Subpoena

                                 [EXTERNAL EMAIL from jsheasby@irell.com]


All.

We need dates for our 30b1 and 30b6 noticed depos. When will you provide them.

Best
JS

On Jun 30, 2021, at 11:10 PM, Jonathan Tse <jonathantse@quinnemanuel.com> wrote:


Thank you. We will send you a stipulation.

Jonathan Tse
Associate,
Quinn Emanuel Urquhart & Sullivan, LLP

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415.875.6600 Main Office Number
415.875.6700 FAX
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Sent: Wednesday, June 30, 2021 11:06 PM
To: Jonathan Tse <jonathantse@quinnemanuel.com>; Sheasby, Jason <JSheasby@irell.com>
Cc: Stach, Jason <Jason.Stach@finnegan.com>; #Netlist‐Google [Int] <Netlist‐Google@irell.com>;
~Hines, Dori <dori.hines@finnegan.com>; Puknys, Erik <erik.puknys@finnegan.com>; Specht, Kara
<Kara.Specht@finnegan.com>; Jared Newton <jarednewton@quinnemanuel.com>; David Perlson
<davidperlson@quinnemanuel.com>; QE‐NetlistvGoogle <qe‐netlistvgoogle@quinnemanuel.com>
Subject: RE: Netlist v. Google ‐ 09‐cv‐5718 ‐ Joint Letter to Magistrate re Dorsey Subpoena


[EXTERNAL EMAIL from astrabone@irell.com<mailto:astrabone@irell.com>]

________________________________
                                                      7
